Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 1 of 64
                              PageID 11537




                    Exhibit 19
                      (Excerpted)
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 2 of 64
                              PageID 11538




                                                            EXHIBIT

                                                                14
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 3 of 64
                              PageID 11539
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 4 of 64
                              PageID 11540




                    Exhibit 20
                      (Excerpted)
         FILED UNDER SEAL
               Case 2:20-cv-02892-SHL-tmp   Document 389-11      Filed 02/10/23   Page 5 of 64
                                             PageID 11541


                              ®




               VARSITY




               Business                                                 DRAFT COPY

               Plan                         2012-2013
           Includes three Lines of Business: (1) Varsity Fashion; (2)
                                                                          Revision 1, 6/1/2012
           Training & Education; and (3) Varsity All Star.




Confidential                                                                                     VAR00346980
                Case 2:20-cv-02892-SHL-tmp               Document 389-11            Filed 02/10/23      Page 6 of 64
                                                          PageID 11542


                           1.   All Star Gyms - 2500 gyms nationwide; most of them have some type of cheer camp,
                                either individual, team, choreography, or a skills camp;
                           2.   Low Cost Competitors - these are programs that compete based on cost. Examples
                                include: All Day Cheerleading in the Carolinas, Fellowship of Christian Cheerleaders on a
                                national level, JAMZ Camps in CA, AZ, HI, and many others;
                           3.   College/University Programs - some of the better known include North Carolina State,
                                Purdue, Kansas State, and Penn State, which all have cheer camps & training programs;
                           4.   Other competitors that range from local to national brands - Cheerleaders of America,
                                The Spirit Consultants, Cheergyms.com, US Spirit Leaders, and many others.

                        Below is a summary of market share for Varsity Brands vs. competitors in the Training &
               Education arena. The total market share numbers do not include$ paid by parents for their children to
               attend cheerleading practice, on a routine basis, at local gyms. The market share represents specialized
           training camps and workshops only.

               U.S.         Total Market        Varsity Brands      %
               Region       Opportunity         share {UCA,         Market
                                                NCA, USA, ACA,      Share
                                                VIROC, etc.)
           NE               $5,500,000          $4,700,000          85%
           West             $27,000,000         $21,600,000         80%
           MW               $12,000,000         $9,400,000          78%
           South            $17,600,000         $15,700,000         89%
           Total:           $62,100,000         $51,400,000         83%



           Summary of Competition in All Star Com~etition Market:

           All Star Competitors                Varsity Brands       %
                                               share {UCA,          Market
                                               NCA, USA, ACA,       Share
                                               VIROC, etc.)
           Varsity Brands                      $29,000,000          42%
           Jam Brands                          $21,000,000          30.5%
           Cheer Sport/ Univ Spirit            $6,000,000            8.7%
           Spirit Brands                       $1,900,000            2.8%
           Americheer                          $1,600,000            2.4%
           WSA                                 $1,500,000           2.1%
           Jamz                                $1,300,000            1.8%
           Champion Spirit Group               $1,300,000            1.8%
           Spirit Celebration                  $ 700,000              1.0%
           Cheer America                       $ 700,000              1.0%
           Others                              $4,000,000            5.7%
           Total Market                        $69,000,000          100%




               Page I [ PAGE    \* MERGEFORMAT]




Confidential                                                                                                          VAR00346985
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 7 of 64
                              PageID 11543




                    Exhibit 21
                      (Excerpted)
         FILED UNDER SEAL
                             Case 2:20-cv-02892-SHL-tmp                                      Document 389-11          Filed 02/10/23   Page 8 of 64
                                                                                              PageID 11544




                                                                                                             "."



                                                                                                                                                                   I

                                                                                                                     rg ,




                                                                                                                                                             s:SA4
                4                                                                                                                                     • M*,2:4nMf0:44A "




                                                                             .         „OREL- 4
     :•:•::::
                    vA RsiTy
                     ••••••••••   ••••••••=:;:;:;:;:;:;••••••••••••••••••=         •

                                                                                                                      BRANDS
                                                                                                         WM.:MR 555£2:0




                                               elevating student exp                                                            eiKes



                    Varsitt                                                      pirit Divisional Presentation
                                                                                             May 2018




Confidential                                                                                                                                                           VAR00371192
                          Case 2:20-cv-02892-SHL-tmp                 Document 389-11             Filed 02/10/23   Page 9 of 64
                                                                      PageID 11545
   Overview of Governing Bodies
   Shaping ft Growing the Industry
                                                                                                                            VARSITY A            BRANDS

  • Since inception, Varsity Spirit's mission is to be the leader and steward for cheer and dance

  • Market had a lack of governance around coaches training, athlete safety and leadership in the 1980s as cheerleading evolved
    to a more athletic activity

  • To lead and shape the market, Varsity was instrumental in the creation of several cheer governing bodies to set the rules of
    engagement for athletes, coaches, gyms and event producers

 • These governing bodies enabled policies beneficial to further growth of the overall cheer and dance markets




  American Association of Cheerleading                                                                  School: Developed coach and athlete safety
                                                                                          1987
  Coaches a Administrators (AACCA)                                                                      standards and rules

                                                 mizionEuin                                             All Star: Standardized rules, divisions and
  U.S. All Star Federation (USASF)               USASF                                    2003          athlete safety across all event producers
                                                 =NM
                                                  vox arm   & DAN.   ,.....                             (Varsity and Non-Varsity)

                                                                                                        International: Global governing body for cheer
  International Cheer Union (ICU)                                                         2004          that created foundation for international
                                                                                                        expansion and provisional recognition with IOC

                                                                                                        Overall U.S. Market: Created national governing
  USA Cheer                                            USA                                2007
                                                                                                        body for US recognized by ICU
                                                       OMER


  Jefferies (lMOS
               ohlumn                                                     Highly Confidential                                                            62



Confidential                                                                                                                                    VAR00371265
                      Case 2:20-cv-02892-SHL-tmp      Document 389-11          Filed 02/10/23   Page 10 of 64
                                                        PageID 11546
   American Association of Cheerleading Coaches Et
   Administrators (AACCA)
                                                                                                         VARSITY           BRANDS




                           • In the 1980s, an explosion in the popularity of scholastic cheer combined with continued progress in
                             athleticism and skill reinforced the need for safety education, awareness, and regulations

                           • Accordingly, Varsity Spirit partnered with leading safety and education experts to create AACCA and
                             published AACCA cheerleading safety manual to provide education and safety standards for coaches

                           • AACCA has completed over 20k safety courses in every state and internationally and is the recognized
                             standard of care for cheerleading safety




                             Providing cheerleading safety education to all coaches and administrators involved in cheer

                           • The AACCA Cheerleading Safety Manual focuses on the areas of Safety Awareness and Legal
                             Responsibility, Medical Responsibilities, Environmental Safety Factors, Spotting, Performer Readiness,
                             and Skill Progression




  Jefferi      Igen                                      Hight   nfidential.                                                          63


Confidential                                                                                                               VAR00371266
                                    Case 2:20-cv-02892-SHL-tmp       Document 389-11         Filed 02/10/23   Page 11 of 64
                                                                       PageID 11547
   U.S. All Star Federation (USASF)
                                                                                                                       VARSITY             BRANDS




                                           The U.S. All Star Federation (USASF) was founded in 2003 with the core principle of making All Star a
       F E D E R A T I         N           safer sport by establishing fair and consistent rules and competition standards
   FOR CHEER   &   DANCE TEAMS

                                         • The organization credentials coaches, certifies safety judges, sanctions events and maintains and
                                           adjusts safety guidelines, all with the goal of providing the safest possible environment for cheer and
                                           dance athletes to train and compete

                                           Not-for-profit corporation established in Tennessee and governed by Bylaws, officers, a Board of
                                           Directors, and 15 standing committees


   C     .RLEADIN


                                         • To support and enrich the lives of All Star athletes and members

               -1)ANK.'T., WOW .'        • Provide consistent rules, strive for a safe environment for athletes, drive competitive excellence and
                                           promote a positive image for the sport




  Jefferies t41g,"'"                                                   Highly Confidential                                                           64



Confidential                                                                                                                              VAR00371267
                           Case 2:20-cv-02892-SHL-tmp      Document 389-11            Filed 02/10/23   Page 12 of 64
                                                             PageID 11548

   International Cheer Union (ICU)
                                                                                                                VARSITY          BRANDS




                                • ICU was established as a non-profit in 2004 and is the recognized world governing body of cheerleading

                                • ICU consists of over 110 member National Cheer Federations with athletes on all continents, hosts the
                                  World Championships consistently welcoming over 70 nations and continues to grow as a unified voice
                                  for all those who are dedicated to the positive advancement of cheerleading throughout the world

                                • ICU received provisional recognition from the International Olympic Committee in 2016, which unlocks
                                  government funding for cheer around the world




                                • Manage, direct, promote, organize, and assist the activities and disciplines associated with Cheer
                                  worldwide

                                • Encourage the growth and development of Cheer programs and opportunities to the world's youth

                                • Communicate with and support the formation of new National Cheer Federations (also known as
                                  National Governing Bodies) and countries that are interested in starting Cheer programs, activities, and
                                  events

                                • Encourage the creation of national teams to represent their respective countries in worldwide events,
                                  exchanges, and competition

                                • Establish rules and regulations for international competitive events and programs




  Jefferi"     ti,114‘a"                                      Hight'   'nfidential.                                                       65


Confidential                                                                                                                    VAR00371268
                       Case 2:20-cv-02892-SHL-tmp      Document 389-11          Filed 02/10/23   Page 13 of 64
                                                         PageID 11549
   USA Cheer
                                                                                                          VARSITY            BRANDS


                                                                                      ew
                            • The USA Federation for Sport Cheering is a not-for profit 501(c)(6) organization that was established in
                              2007 to serve as the National Governing Body for Sport Cheering in the United States

                            • USA Cheer is the recognized national governing body in the US by the ICU




                            • USA Cheer exists to serve the cheer community, including club cheering (All Star) and traditional school
                              based cheer programs as well as the growing sport of STUNT, a Title IX compliant sport derived from
                              cheer

                            • Help grow and develop interest and participation in cheer

                            • Promote safety and safety education for cheer

                            • Represent the USA in international cheer competitions




                Mean
  Jefferies    .adis                                      Highly Confidential                                                        66



Confidential                                                                                                                VAR00371269
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 14 of 64
                               PageID 11550




                    Exhibit 22
                       (Excerpted)
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 15 of 64
                               PageID 11551
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 16 of 64
                               PageID 11552
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 17 of 64
                               PageID 11553




                    Exhibit 23
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 18 of 64
                               PageID 11554
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 19 of 64
                               PageID 11555
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 20 of 64
                               PageID 11556
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 21 of 64
                               PageID 11557




                    Exhibit 24
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 22 of 64
                               PageID 11558


                                                                       Exhibit
                                                                            12
                                                                 Witness: Neil Kalvelage
                                                                           5/4/2022
                                                                 Michelle Keegan, RMR, CRR, CSR
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 23 of 64
                               PageID 11559
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 24 of 64
                               PageID 11560




                    Exhibit 25
                       (Excerpted)
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 25 of 64
                               PageID 11561
                                                                                EXHIBIT

                                                                                  30
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 26 of 64
                               PageID 11562
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 27 of 64
                               PageID 11563
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 28 of 64
                               PageID 11564




                    Exhibit 26
                       (Excerpted)
         FILED UNDER SEAL
                Case 2:20-cv-02892-SHL-tmp          Document 389-11           Filed 02/10/23        Page 29 of 64
                                                      PageID 11565


               Dear Coach,

           Since 1948, NCA has been dedicated to providing cheerleading instruction and competitive
           opportunities for cheerleaders, with an emphasis on leadership and safety. Leadership in the school and
           elevating school spirit at games, pep rallies, community events and fundraisers are all integral parts of a
           cheerleader's role.

           As your partner in building strong school spirit programs, we are excited to announce that we will once
           again offer the Squad Credentialing Program that was developed in conjunction with the National
           Federation of State High School Associations (NFHS). This program will once again be offered at all two
           day or longer Varsity Spirit camps and will focus on two areas: the importance of SAFETY and the FIVE
           KEV PILLARS to a successful school spirit program that include:
                        1. Crowd Leading
                             2.   Spirit Raising
                             3.   Ambassadorship
                             4.   Athleticism
                             5.   Entertainment

           The NCA Junior & Senior High School National Championship is held each January in Dallas, Texas where
           teams showcase both their Performance and Game Day skills. The role that a well-rounded cheerleader
           plays throughout the year in their school and community is extremely important to us, therefore the
           Varsity Spirit/NFHS Squad Credentialing program will be a requirement for participation in the NCA
           Junior & Senior High School National Championship beginning in January of 2018.

           Our Squad Credentialing Program is part of our quest to continually elevate the profile of cheerleaders,
           whether on campus, at a game or representing your school for any occasion. We are committed to
           offering comprehensive training to cheerleaders and coaches, and feel very strongly that this is one
           more way we can ensure that all cheerleaders understand their role, and are knowledgeable about
           cheerleading safety.

           Attached is a Q & A document to address questions you might have. If you have any additional
           questions, please contact your state director, who will be happy to assist you.

           Sincerely,



           ~
           Buffy Duhon
           Senior Vice President & General Manager




Confidential                                                                                                        VAR00160801
                Case 2:20-cv-02892-SHL-tmp                    Document 389-11            Filed 02/10/23          Page 30 of 64
                                                                PageID 11566


                                       Q&A: Varsity Spirit/NFHS Squad Credentialing Program

           1.      Why did we create the Varsity Spirit/NFHS Squad Credentialing program?
                   We developed the program to ensure that cheerleaders and coaches understand the role of the cheerleader and
                   the importance of safety. The program was created in collaboration with the National Federation and is
                   comparable to some of their existing courses. Again in 2017, the Squad Credentialing Program will be completed
                   at all 2 day or longer Varsity Spirit camps this summer, and will be a requirement for participation at:
                         •   NCA Junior & Senior High School National Championship in January 2018
                         •   National High School Cheerleading Championship (NHSCC) with UCA- requirement began in 2017

           2.      What does this mean for teams who attend our camps, competitions and nationals?
                  This program will be implemented at Varsity Spirit camps this summer (NCA, UCA, USA, V!ROC and Premier
                  camps), and will be a requirement for participation at NCA and UCA's school National Championships in 2018.

           3.      Can a team that didn't go to a Varsity Spirit camp compete at a local NCA or UCA Competition?
                   Yes, but they will not be eligible to receive a bid to Nationals.

           4.      What camps will provide Squad Credentialing?
                   All Varsity Spirit overnight camps, resort camps, home camps, choreography, and day camps that are at least two
                   days long. Instruction time must be long enough for all elements of credentialing to be taught. Squad
                   credentialing wi ll not be provided at clinics or one day camps.

           5.      Do you have to complete Squad Credentialing in the brand where you are competing?
                   No, you may receive the Squad Credential at any two day or longer Varsity Spirit camp. For example, you can
                   receive your squad credential at NCA camp but choose to continue the qualification process to attend UCA's
                   National High School Cheerleading Championship.

           6.      What will the Squad Credentialing program be like at camp?
                   Camp attendees will be required to complete a five-part checklist that will cover the ir role as crowd leaders, spirit
                   raisers, ambassadors, athletes and entertainers, with an emphasis on leadership and safety. Similar to last
                   summer, the elements of the Squad Credentialing Program will fit in with the current classes at each camp type .

           7.      How many squad members need to attend camp? We require that 75% of the members competing must have
                   completed Squad Credentialing.

           8.      If my MASCOT takes the floor during our Nationals routine, do they need to be a part of the Squad
                   Credentialing? Yes, mascots fall under the 75% requirement, and are required to have attended Squad
                   Credentialing.

           9.      What is the benefit of being credentialed?
                   We believe this program will help us all to elevate the profile of cheerleaders, whether on campus, at a game or
                   representing your school for any occasion. It will also certify that all cheerleaders understand their role, and are
                   knowledgeable about cheerleading safety.

               10. Does this affect my dance team?
                   The NFHS Squad Credentialing program is also completed at all Varsity Spirit dance camps two days or longer,
                   however, only UDA's National Dance Team Championship requires credentialing.




Confidential                                                                                                                       VAR00160803
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 31 of 64
                               PageID 11567




                    Exhibit 27
         FILED UNDER SEAL
                                  Case 2:20-cv-02892-SHL-tmp                Document 389-11            Filed 02/10/23     Page 32 of 64
                                                                              PageID 11568

   From:               Buffy Duhon [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                       (FYDI BO H F23SPDLT)/ CN =RE Cl Pl ENTS/CN =BB3C075EE 105482E BC63E FFDC30C9 3 lA-BU FFY DUH ON]
   Sent:               9/20/2019 1:38:41 PM
   To:                 Justin Carrier [JCarrier@varsity.com]
   CC:                 Danielle Staley [dstaley@varsity.com ]
   Subject:            RE:NFHS



   The registrations team was good about this last year and immediately reached out to the State Director if there was a team not showing as credentialed so that
   they could get them set up with something. We definitely need to follow that same path.


   From: Justin Carrier <JCarrier@varsity.com>
   Sent: Friday, September 20, 2019 1:37 PM
   To: Buffy Duhon <BDuhon@varsity.com>
   Cc: Danielle Staley <dstaley@varsity.com>
   Subject: Re: NFHS


   Yes sorry that's what my email meant. Should we have someone look at ALL of registered teams, especially OR, and verify they are credentialed?

   Danielle, do you have time to do this?



   Thanks,

   Justin Carrier
   Vice President
   NCA & NOA & ACA
   Varsity All Star
   Varsity Spirit Brands
   Office: 972.840.4038
   Fax: 972.840.4061

   Disclaimer: This email message is strictly confidential to NSG Corporation and is intended only for the addressee. It may contain information that may be
   confidential, legal, privileged, or otherwise exempt from disclosure under applicable law. If you are not the intended addressee, or someone authorized by the
   intended addressee to receive transmission on behalf of the addressee, you must not retain, disclose in any form, copy, or take action in reliance on this
   transmission.

                                                                                                                                                        DUHON
   On Sep 20, 2019, at 11:27 AM, Buffy Duhon <BDuhon@varsity.com> wrote:                                                                                EXHIBIT

                                                                                                                                                           10
                                                                                                                                                     3-25-22   LEXITAS


Confidential                                                                                                                                            VAR00160726
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 33 of 64
                               PageID 11569
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 34 of 64
                               PageID 11570
                                 Case 2:20-cv-02892-SHL-tmp               Document 389-11           Filed 02/10/23        Page 35 of 64
                                                                            PageID 11571
   Sent: Thursday, September 19, 2019 8:59 AM
   To: Mike Burgess <MBurgess@varsity.com>; Matthew Goto <MGoto@varsity.com>
   Subject: NFHS

   Hey, this is the year you're going to be implementing that teams have to get NFHS at camp this summer to come to USA Nationals 2021 right? So many teams in
   NW going to gym camps since they can still come to USA. Would help all of us grow up there to get them back.

   Buffy Duhon
   Senior Vice President & General Manager
   National Cheerleaders Association & National Dance Alliance Varsity Brands
   Direct: 972-840-4023
   Toll Free: 800-527-4422 ext. 4023
   Email: bduhon@varsity.com
   http://nca.varsity.com & http://nda.varsity.com

   Disclaimer: This e-mail is strictly confidential to Varsity Spirit and is intended only for the addressee. It may contain information that may be confidential, legal,
   privileged, or otherwise exempt from disclosure under applicable law. If you are not the intended addressee, or someone authorized by the intended addressee
   to receive transmission on behalf of the addressee, you must not retain, disclose in any form, copy, or take action in reliance on this transmission.




   CONFIDENTIALITY NOTICE: This e-mail and any attachments are for the exclusive and confidential use of intended recipient. If you are not the intended recipient,
   please do not read, distribute or take action in reliance to this message. If you have received this in error, please notify us immediately by return e-mail and
   promptly delete this message and its attachments from your computer system.




Confidential                                                                                                                                                   VAR00160729
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 36 of 64
                               PageID 11572




                    Exhibit 28
                       (Excerpted)
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 37 of 64
                               PageID 11573
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 38 of 64
                               PageID 11574
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 39 of 64
                               PageID 11575




                    Exhibit 29
                       (Excerpted)
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 40 of 64
                               PageID 11576
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 41 of 64
                               PageID 11577
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 42 of 64
                               PageID 11578




                    Exhibit 30
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 43 of 64
                               PageID 11579




                                                                            ELZA
                                                                           EXHIBIT

                                                                               5
                                                                        11-16-21 - LEXITAS
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 44 of 64
                               PageID 11580
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 45 of 64
                               PageID 11581
         Case 2:20-cv-02892-SHL-tmp                                Document 389-11                    Filed 02/10/23          Page 46 of 64
                                                                     PageID 11582

All Star Event Companies                                           Revenue              % of Market Net EBITDA   EBITDA
Varsity All Star Events                                             $ 103,420,000.00            75%          32% $ 32,745,000.00
EPIC                                                                   $ 8,000,000.00            6%          25% $ 2,000,000.00
GSSA/Aloha                                                             $ 3,200,000.00            2%           8%    $ 270,000.00
Spirit Celeberation                                                    $ 2,200,000.00            2%          13%    $ 275,000.00
Champion Spirit Group                                                  $ 2,500,000.00            2%          15%    $ 375,000.00
WSA                                                                    $ 1,500,000.00            1%          15%    $ 225,000.00
JAMZ                                                                   $ 1,750,000.00            1%          15%    $ 262,500.00
All Others***                                                        $ 15,000,000.00            11%          15% $ 2,250,000.00
Total                                                               $ 137,570,000.00                             $ 38,402,500.00
***All others - other 70+ companies and including one-off events
          Case 2:20-cv-02892-SHL-tmp                                         Document 389-11                        Filed 02/10/23                      Page 47 of 64
                                                                               PageID 11583

Company Brands                                                               City                 ST Website                                              Teir     Estimated Revenue
        All Things Cheer & Dance                                             Chandler             AZ www.allthingscheer.com                               Teir 1           $ 650,000.00
        American Spirit Championships                                        Edmond               OK www.ascspirit.com                                    Teir 1           $ 600,000.00
        Champion Cheer Central, Inc.                                         Albion               PA www.championcheercentral.com                         Teir 1           $ 350,000.00
        Cheer & Dance Extreme                                                Linthicum            MD www.cheeranddanceextreme.com                         Teir 1         $ 1,000,000.00
        Cheer America Championships                                          Austin               TX www.cachampionships.com                              Teir 1         $ 1,500,000.00
        Cheer Nationals at Opryland                                          Orlando              FL http://www.cheernationalsopryland.com/               Teir 1           $ 400,000.00
        DX - Dance Xtreme USA                                                Anoka                MN www.DXevents.com                                     Teir 1           $ 200,000.00
        Elite Cheer Championships                                            Madison              MS www.deepsouthspirit.com                              Teir 1           $ 150,000.00
        Greater Midwest Cheer Expo                                           West Chester         OH www.midwestcheerexpo.com                             Teir 1           $ 250,000.00
        Hit Cheer and Dance Competitions                                     San Francisco        CA hitcompetitions                                      Teir 1           $ 100,000.00
        Majestic Studio Dance                                                Anoka                MN DXevents.com/majestic                                Teir 1           $ 100,000.00
        Mardi Gras Spirit Events                                             Westwego             LA www.mardigrasspiritevents.com                        Teir 1           $ 550,000.00
        Mid Atlantic Championships                                           Philomath            OR midatlanticchamps.com                                Teir 1           $ 250,000.00
        Spirit Spotlight                                                     Oaklyn               NJ www.spiritspotlight.com                              Teir 1           $ 150,000.00
        AmeriCheer & AmeriDance                                              Westerville          OH www.americheer.com                                   Teir 2           $ 500,000.00
        Elite Cheerleading Inc                                               Pittsburgh           PA www.elitecheerleading.com                            Teir 2           $ 150,000.00
        MA Dance                                                             Plano                TX www.madance.com                                      Teir 2           $ 150,000.00
        3P Comps                                                             Perry                UT www.3pcomps.com                                      Tier 3           $ 150,000.00
        9 Panel Production                                                   Gastonia             NC www.9panel.net                                       Tier 3           $ 150,000.00
        Advanced Spirit Association                                          Slatersville         RI www.advancedspirit.com                               Tier 3           $ 150,000.00
        All Day Cheerleading, Inc                                            Shelby               NC www.alldaycheerleading.com                           Tier 3           $ 100,000.00
        All Out Championships                                                Orlando              FL www.alloutchampionships.com                          Tier 3           $ 200,000.00
        Amazing Championships                                                Richardson           TX amazingchampions.com                                 Tier 3           $ 150,000.00
        Champions Cup Series/USA Sports Production                           Indianapolis         IN www.championscupseries.com                           Tier 3           $ 150,000.00
        Cheer Champion Express                                               Port Huron           MI www.ccecheer.com                                     Tier 3           $ 150,000.00
        Cheer Derby                                                          Bowling Green        KY www.cheerderby.com                                   Tier 3           $ 100,000.00
        Cheer For Charity                                                    Severna Park         MD www.cheerforcharity.net                              Tier 3            $ 75,000.00
        Cheer Gyms Association                                               Dallas               TX                                                      Tier 3            $ 75,000.00
        Cheer Max Competitions                                               W Carrollton         OH www.cheermaxcompetitions.com                         Tier 3           $ 100,000.00
        Cheer USA Championships, LLC                                         Huffman              TX www.cheerusachampionships.com                        Tier 3           $ 100,000.00
        CHEERpros                                                            Menifee              CA www.CheerPros.com                                    Tier 3           $ 100,000.00
        CNY Cheer Company                                                    Herkimer             NY www.cnycheer.com                                     Tier 3           $ 100,000.00
        Deep South Cheer & Dance, Inc                                        Madison              MS www.deepsouthspirit.com                              Tier 3           $ 150,000.00
        Eastern Cheer & Dance Association                                    Midlothian           VA www.ecaeda.com                                       Tier 3           $ 200,000.00
        Fierce Fest                                                          Sewell               NJ                                                      Tier 3            $ 75,000.00
        FullUP Cheer                                                         West Columbia        SC www.fullupcheer.com                                  Tier 3            $ 75,000.00
        Fusion Cheer and Dance                                               Chattanooga          TN fusioncheeranddance.com                              Tier 3            $ 75,000.00
        GottaCheer, LLC                                                      Florham Park         NJ gottacheer.net                                       Tier 3            $ 75,000.00
        MAD Event Management LLC                                             Warwick              NY                                                      Tier 3            $ 75,000.00
        MCD Ultimate Productions                                             Fort Myers           FL www.midwestcheerdance.com                            Tier 3            $ 75,000.00
        MCDA Cheer & Dance Championships                                     Bethalto             IL www.midwestcheeranddance.com                         Tier 3           $ 100,000.00
        New England Cheerleaders Assoc.                                      Uncasville           CT www.cheerneca.com                                    Tier 3            $ 75,000.00
        Old School Cheer Co.                                                 Houston              TX oldschoolcheer.com                                   Tier 3            $ 75,000.00
        Power Athletics                                                      Tigard               OR www.powerathleticscheer.com                          Tier 3            $ 75,000.00
        Redline Cheer and Dance Company                                      Amarillo             TX www.redlinecheer.com                                 Tier 3           $ 100,000.00
        Rockstar Championships                                               Edmond               OK www.rockstarchampionships.com                        Tier 3           $ 100,000.00
        Select Athletics Group LLC                                           Bellaire             TX selectathletics.com                                  Tier 3            $ 75,000.00
        Shout! Cheer and Dance Co.                                           Portland             NY www.shoutcheeranddance.com                           Tier 3            $ 75,000.00
        Spirit Extreme                                                       Carteret             NJ www.spiritextreme.net                                Tier 3           $ 100,000.00
        Spirit of the West Events                                            Portland             OR www.spiritofthewestevents.com                        Tier 3            $ 75,000.00
        Spirit Solutions                                                     Denver               NC www.spiritsolutions.com                              Tier 3           $ 100,000.00
        Spotlight Championships                                              Sugar Land           TX www.spotlightchampionships.com                       Tier 3            $ 75,000.00
        U.S. Spiritleaders                                                   Long Beach           CA USSpiritleaders.com                                  Tier 3           $ 100,000.00
        Ultimate Cheer Experience                                            Hillsdale            MI www.ucecheer.com                                     Tier 3           $ 100,000.00
        United Cheer                                                         Sugar Land           TX www.unitedcheer.com                                  Tier 3           $ 100,000.00
        United Cheer & Dance Foundation                                      Charlton             MA www.unitedcheerfoundation.com                        Tier 3           $ 100,000.00
        United States Cheerleading Association                               Coconut Creek        FL www.USCheerleading.com                               Tier 3           $ 100,000.00
        USA Sports Production                                                Indianapolis         IN usasportsproduction.com                              Tier 3            $ 75,000.00
        Valley Of the Sun Championship                                                            AZ                                                      Tier 3            $ 75,000.00
        Victory Athletics Spirit                                             Madison              MS VAspirit.com                                         Tier 3            $ 75,000.00
        WOW Factor Sports, Inc                                               St. Paul             MN www.wowfactorsportsinc.com                           Tier 3            $ 50,000.00
        CWCC - IT's Showtime                                                 Wisconsin Rapids     WI                                                      Tier 4            $ 50,000.00
        Midwest Allstar Classic                                                                   MO                                                      Tier 4            $ 50,000.00
        POWER                                                                Modesto              CA powercheerallstars.com                               Tier 4            $ 50,000.00
        Showcase Productions, LLC                                            Whitehouse Station   NJ                                                      Tier 4            $ 50,000.00
        Spirit Blast Cheer & Dance Championship                              Harahan              LA spiritblast.com                                      Tier 4            $ 50,000.00
        Spirit Club International                                            Chatsworth           CA www.spiritclubcheer.com                              Tier 4            $ 50,000.00
        Spirit Factory                                                       Pensacola            FL                                                      Tier 4            $ 50,000.00
        Spirit Spectacular Championships                                     Concord              CA http://www.spiritspec.com                            Tier 4            $ 50,000.00
        The Highsteppers Dance Studio Producer                               Cincinnati           OH                                                      Tier 4            $ 50,000.00
        Titletown All Star Championship - formerly Green Bay Cheer Classic   Green Bay            WI www.greenbaycheerclassic.com                         Tier 4            $ 50,000.00
        University of Minnesota                                              Minneapolis          MN http://www.gophersports.com/sports/spirit-squad/     Tier 4            $ 50,000.00

                                                                                                                                                                       $ 12,050,000.00
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 48 of 64
                               PageID 11584




                    Exhibit 31
                       (Excerpted)
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 49 of 64
                               PageID 11585
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 50 of 64
                               PageID 11586
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 51 of 64
                               PageID 11587
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 52 of 64
                               PageID 11588




                    Exhibit 32
                       (Excerpted)
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 53 of 64
                               PageID 11589
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 54 of 64
                               PageID 11590
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 55 of 64
                               PageID 11591




                    Exhibit 33
                       (Excerpted)
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 56 of 64
                               PageID 11592
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 57 of 64
                               PageID 11593
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 58 of 64
                               PageID 11594




                    Exhibit 34
                       (Excerpted)
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 59 of 64
                               PageID 11595
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 60 of 64
                               PageID 11596
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 61 of 64
                               PageID 11597




                    Exhibit 35
                       (Excerpted)
         FILED UNDER SEAL
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 62 of 64
                               PageID 11598
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 63 of 64
                               PageID 11599
Case 2:20-cv-02892-SHL-tmp   Document 389-11   Filed 02/10/23   Page 64 of 64
                               PageID 11600
